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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION


CARLOS ALBERTO CUENCA FIGUEREDO,                              Case No.: 3:22-cv-1268-TJC-LLL
           Petitioner/Father,
v.

YAURI DEL CARMEN ROJAS
               Respondent/Mother,
__________________________________/

RESPONDENT’S ANSWER TO VERIFIED PETITION, PURSUANT TO THE HAGUE
  CONVENTION FOR RETURN OF CHILD TO THE COUNTRY OF HABITUAL
                          RESIDENCE

       Respondent, YAURI DEL CARMEN ROJAS, by and through her undersigned counsel,

hereby files this Answer to Verified Petition, Pursuant to the Hague Convention for Return of

Child to the Country of Habitual Residence, and states the following:

                                               ANSWER

       I.     Introduction

              It is DENIED that the minor child, C.R., has lived continuously with his parents

       in Venezuela since his birth. The minor child lived with only his Mother at the time of his

       birth, as the parties separated during April 2015, just prior to the child’s birth. The only

       time frame during which the minor child resided with his Father is when the Mother

       visited the United States of America in 2020 and was not allowed to return to Venezuela

       for a period of 7 months due to Covid restrictions. At all other times while in the country

       of Venezuela, the child has resided with his Mother, with the Father having daytime

       visitation and no overnights.

              It is ADMITTED that the Mother traveled to the Unites States of America on or

       about March 16, 2021, and advised that Father on or about March 19, 2021, that the

       minor child, C.R., had traveled with her to the United States of America.
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            It is DENIED that the Mother refused to disclose C.R’s location in the United

     States. In fact, the Mother informed the Father of the child’s location on March 19, 2021

     and provided the address along with other contact information to the Father. The Mother

     is without knowledge as to the self-investigation the Father conducted to determine where

     she and the minor child were residing in the United States of America and accordingly

     said allegations are denied.

            It is DENIED that the Venezuelan Court awarded the Father sole custody of CR

     due to the Mother’s violation of civil and criminal laws of Venezuela. The Custody

     matter in Venezuela remains pending at this time.

            It is ADMITTED that this Verified Petition is brought pursuant to the

     Convention, which is an international treaty designed “to secure the prompt return of

     children wrongfully removed to or retained in a Contracting State,’ and ‘to ensure that

     rights of custody and of access under the law of one Contracting State are effectively

     respected in other Contracting States”.

            Paragraphs 1 and 2 of page 3 of the Petition shall be ADMITTED as to the legal

     standard.

            As to the preponderance of the evidence is it ADMITTED that: (1) C.R. is under

     the age of 16; (2) that San Cristobal, Venezuela was C.R.’s habitual residence from birth

     until approximately March 16, 2021. It is DENIED that (3) both the removal of C.R. to

     the United States and his retention here is a breach of the Father’s right of custody under

     Venezuelan law; (4) the Father was exercising his custody rights at the time the Mother

     wrongfully removed C.R.; and (5) the narrow, discretionary exceptions to mandatory

     return under the Convention do not apply. In fact, three (3) separate exceptions apply to

     the matter at hand: (1) The Petition commenced more than one year after removal and the

     child has become well-settled; (2) there is a grave risk of harm to the child; and (3) the
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     child objects to the Return.

     II.    Jurisdiction and Venue

            It is ADMITTED that the Venue is proper in the Middle District of Florida and

     further that the minor child and Mother, who is the Respondent in this proceeding, reside

     in said District, that is Orange Park, Clay County, Florida, which is located within the

     Middle District of Florida.

     III.   Status of the Petitioner and Respondent

            It is ADMITTED that the Petitioner is C.R.’s biological Father and that he is a

     citizen of Venezuela and currently resides in San Cristobal, Tachira State, Bolivarian

     Republic of Venezuela.

            It is ADMITTED that the Respondent is C.R.’s biological Mother and that she is a

     citizen of Venezuela and currently resides in Orange Park, Clay County, Florida.

     IV.    Factual Background

            It is ADMITTED the both the Mother and Father of C.R. are lawyers in

     Venezuela. The Mother is without knowledge as to the remaining allegations of said

     paragraph and accordingly, they are DENIED.

            It is ADMITTED that the parties were married on September 11, 2014 and that

     C.R. was born during 2015.

            It is ADMITTED that the parties were divorced on May 15, 2017 and as to that

     the custody was later modified to provide the Mother with custody and the Father with

     daytime visitation.

            It is ADMITTED that the Mother was prohibited from returning to Venezuela due

     to the Covid-19 pandemic from March to November 2020. It is DENIED that the C.R.

     lived solely with the Father. C.R. lived at the paternal grandparents’ residence along with

     the Father. Most of the child rearing duties and responsibilities were exercised by the
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     paternal grandparents. Upon the Mother’s return, the parties resumed their previous

     custody arrangement.

            It is ADMITTED that the Mother removed C.R. from Venezuela on March 16,

     2021 and that she notified the Father on March 19, 2021 of the removal of C.R. The

     remaining allegations are DENIED.

            It is DENIED that the Father found out C.R.’s location in December 2021. The

     Mother informed the Father on March 19, 2021 of the exact location of C.R. along with

     address and other contact information.

            The Mother is without knowledge as to the Father’s though processes as to self-

     help measures and his application process to the Hague, therefore this allegation is

     deemed DENIED.

            NEED RESPONSE FOR PARAGRAPHS pg 6 Sec 1

            It is ADMITTED that the Mother appealed the Court’s decision. The rest of the

     allegations in that paragraph are DENIED. The Mother’s appeal to the Tribunal Supremo

     de Justicia which remains pending at this time.

            It is DENIED that there are criminal charges pending against the Mother in

     Venezuela.

            It is ADMITTED that the Father holds a valid visa to travel to the United States.

     The rest of the allegations in the paragraph are DENIED. Venezuela follows Venezuelan

     Standard Time (VET) which does not follow Daylight Savings Time. Currently,

     Venezuela is one hour ahead of the United States Eastern Time Zone.

     V.     Argument

            This Section contains Legal Argument not allegations, therefore for formality, this

     section shall be deemed DENIED.

     VI.    Right to Recovery of Fees, Costs, and Other Expenses
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               It is DENIED that the Father is entitled to recover expenses due to the removal

       from the Mother.

               The Mother is without knowledge to the Father’s intent of filing a motion and

       documentation of expenses, therefore the allegations in this paragraph are DENIED.

Any allegations/statements not expressly addressed herein shall be deemed denied.
                                         AFFIRMATIVE DEFENSES

   1. The Child has become Well settled in Florida.

       The Petition in the instant case was not filed in a timely manner and C.R. has become

well settled in Florida. The Petition was filed approximately twenty months after C.R. arrived in

the U.S. C.R. has become well settled in his new environment, as he is currently seven-and-a-

half-years old, has lived in Florida for the last twenty months, has a well-established residence,

medical insurance, regularly attends school, maintains fantastic grades, speaks fluent English,

has friends, and participates in martial arts and swimming as extra-curricular activities.

   2. Grave Risk of harm to Child

       C.R.’s habitual residence prior to the alleged wrongful removal was Venezuela.

Venezuela has been deemed a country suffering a severe humanitarian emergency. C.R. would

face grave risk of harm if he was returned to Venezuela. C.R. would face an extreme

humanitarian disaster that would leave him without access to proper food and medical care,

leaving many children suffering from malnutrition. C.R. is also at grave risk of becoming a

victim of violent crime in Venezuela. Furthermore, the Father has a history of abusive tendencies

and alcohol abuse deeming a return harmful to C.R. The Mother has filed an Asylum Application

on behalf of herself and C.R. due to persecution she suffered in Venezuela.

   3. Child objects to Return

       C.R. wishes to remain in Florida with his Mother. Respondent would request that the

Court conduct an in-camera interview of the child to receive evidence of the child’s objection to
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being returned to Venezuela.

                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy hereof has been electronically filed with the Clerk of
Court, CM/ECF system, thereby furnishing a copy to William Roelke, Attorney for Petitioner, on
     27th
this _____ day of January, 2023.
                                          Respectfully submitted,
                                          TASSONE, DREICER & HILL

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